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                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of New York
RCH/JP/JS/AXB                                       610 Federal Plaza
F. #2022R01030                                      Central Islip, New York 11722



                                                    June 2, 2023

By ECF

The Honorable Anne Y. Shields
United States Magistrate Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

               Re:    United States v. George Anthony Devolder Santos
                      Criminal Docket No. 23-197 (JS) (AYS)

Dear Magistrate Judge Shields:

               The government respectfully writes in response to the Courts order dated May
30, 2023, directing the parties to respond to the motions to unseal filed by various news outlets.
See Minute Entry dated May 30, 2023; see also Dkt. Nos. 13, 14.

             By way of background, at the defendants arraignment and initial appearance on
May 10, 2023, the government and defense jointly proposed that the defendant be released on
a $500,000 personal recognizance bond to be co-signed by financially responsible sureties.
The Court approved the joint proposal and the defendant was released. See Dkt. No. 12.

                Thereafter, the defendant moved to redact the names of the sureties on the bond.
The government took no position on that request, which the Court granted. The sureties were
not identified on the publicly available order setting conditions of release and appearance bond.
See Dkt. No. 12.
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              The instant motions filed by various news outlets seek to unseal the sureties
names. Their requests generally rely on the common law and First Amendment rights of
public access. See Dkt. Nos. 13, 14. The government continues to take no position on the
public disclosure of the sureties names and thus takes no position as to the pending motions.


                                            Respectfully submitted,

                                            BREON PEACE
                                            United States Attorney


                                        By:__________________________
                                           Ryan C. Harris
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                                            COREY R. AMUNDSON
                                            Chief, Public Integrity Section
                                            U.S. Department of Justice


                                        By:__________________________
                                           Jolee Porter
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cc:    Counsel for George Anthony Devolder Santos (by ECF)
       Clerk of the Court (JS) (AYS) (by ECF)




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